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1    BENJAMIN B. WAGNER
     United States Attorney
2    JUSTIN L. LEE
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, CA 95814
4    (916) 554-2700
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8                         IN THE UNITED STATES DISTRICT COURT

9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,               ) 2:10-CR-00299-08 WBS
                                             )
12               Plaintiff,                  )
                                             ) STIPULATION AND ORDER
13         v.                                ) CONTINUING JUDGMENT AND
                                             ) SENTENCING DATE
14   SCOTT PETERSON,                         )
                                             )
15                                           ) Judge: Hon. William B. Shubb
                 Defendant.                  )
16                                           )
                                             )
17

18                                      STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendant, by and through his counsel of record, hereby stipulate

21   as follows:

22      1. This matter was previously set for a Judgment and Sentencing

23         Hearing on March 10, 2014.

24      2. By this Stipulation, the parties now move to continue the

25         Judgment and Sentencing Hearing until May 12, 2014, at 9:30 a.m.

26      3. The assigned Probation Officer does not object to this

27         continuance.

28   ///

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30   Stipulation to Continue                  1              United States v. Peterson
            Case 2:10-cr-00299-WBS Document 361 Filed 02/07/14 Page 2 of 2


1       4. The draft PSR has already been provided to the parties.

2          Accordingly, the parties ask the Court to adopt the following

3          schedule:

4                Draft PSR provided to the parties         Completed

5                Objections to the PSR                     April 14, 2014

6                Final PSR provided to the parties         April 21, 2014

7                Motion to Correct PSR                     April 28, 2014

8                Reply/Statement of Non-Opposition         May 5, 2014

9                Judgment and Sentencing                 May 12, 2014 @ 9:30 a.m.

10   IT IS SO STIPULATED.

11

12   DATED: February 6, 2014              /s/ Justin L. Lee   _
                                        JUSTIN L. LEE
13                                      Assistant U.S. Attorney
14   DATED: February 6, 2014              /s/ William Bonham     _
                                        WILLIAM BONHAM
15                                      Attorney for SCOTT PETERSON
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18                                         ORDER
19         IT IS SO FOUND AND ORDERED.
20   Dated:   February 7, 2014
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30   Stipulation to Continue                  2              United States v. Peterson
